    Case: 1:19-cv-03394 Document #: 95 Filed: 09/04/20 Page 1 of 3 PageID #:1112




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Midwest Operating Engineers Welfare Fund,             )
 Midwest Operating Engineers Pension Trust             )
 Fund, Operating Engineers Local 150                   )
 Apprenticeship Fund, Midwest Operating                )
 Engineers Retirement Enhancement Fund, Local          )
 150 IUOE Vacation Savings Plan and the                )
 Construction Industry Research and Service            )
 Trust Fund,                                           )
                                                       )
                       Plaintiffs,                     )   Civil Action No.: 19-cv-03394
                                                       )
         v.                                            )   Judge Edmond E. Chang
                                                       )
 WillCo Green LLC f/k/a E.F. Heil LLC,                 )   Magistrate Judge Young B. Kim
 SJZJ, LLC, and Donegal Services, LLC,                 )
 joint employers,                                      )
                                                       )
                      Defendants,                      )
                                                       )
         and                                           )
                                                       )
 E.F. Heil, LLC, f/k/a WillCo Green, LLC,              )
                                                       )
 Plaintiff/Counter-Defendant,                          )
                                                       )
         v.                                            )
                                                       )
 International Union of Operating Engineers,           )
 Local 150, AFL-CIO, District 1,                       )
                                                       )
              Defendant/Counter-Plaintiff.             )

                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on September 11, 2020 at 11:00 a.m., or as soon as counsel
may be heard, I shall appear via Court-Solutions before the Honorable Magistrate Judge Young B.
Kim or any judge sitting in his stead in Courtroom 1019 of the United States District Court for the
Northern District of Illinois, Eastern Division, located at 219 S. Dearborn Street, Chicago, Illinois,
and then there present Motion to Extend Deadline for Completion of Fact Discovery, a copy of
which is hereby served upon you.
                                                       Respectfully submitted, SJZJ, LLC

                                                      By: /s/ Derek D. Samz
    Case: 1:19-cv-03394 Document #: 95 Filed: 09/04/20 Page 2 of 3 PageID #:1113




Paul A. Greco, #6229350
Derek D. Samz, #6290656
Thomas J. Cassady, #6307705
DiMonte & Lizak, LLC
216 W. Higgins Road
Park Ridge, IL 60068
tel: 847-698-9600
fax: 847-698-9623
Email: pgreco@dimontelaw.com
        dsamz@dimontelaw.com
        tcassady@dimontelaw.com

                               CERTIFICATE OF SERVICE

        The undersigned, a non-attorney, hereby certifies that on September 4, 2020, she served
(or caused to be served) upon the persons listed below, via the Court’s electronic CM/ECF system,
copies of this Notice of Motion, and Motion to Extend Deadline for Completion of Fact
Discovery.

                                                                   /s/ Meagan E. Russell,
                                                                   Assistant to Derek D. Samz
                                                                   And Thomas J. Cassady



SERVICE LIST:

Via CM/ECF

Dale D. Pierson
Brad H. Russell
Elizabeth Ann LaRose
Melinda S. Hensel
Local 150 Legal Department/Institute
for Worker Welfare
6140 Joliet Road
Countryside, IL 60525
Attorney For Plaintiffs

Joseph James Torres
Larue Lawrence Robsinson
Jenner & Block, LLP
353 N. Clark Street
Chicago, Illinois 60654
Attorneys for WillCo Green, LLC
    Case: 1:19-cv-03394 Document #: 95 Filed: 09/04/20 Page 3 of 3 PageID #:1114




Jack P. Cerone
Erbacci & Cerone, Ltd.
770 Lee Street, Suite 201
Des Plaines, Illinois 60016
Attorneys for WillCo Green, LLC

Thomas Stephen Bradley
Kevin William Frey
Laner Muchin, Ltd.
515 North State Street, Suite 2800
Chicago, Illinois 60654
Attorneys for Donegal Services, LLC
